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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of New
                                                                District ofMexico
                                                                           __________

             San Miguel Hospital Corporation                         )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:23-cv-00903-KRS-JFR
                                                                     )
                  Johnson & Johnson et al.                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Watson Laboratories, Inc.
                                           c/o CSC - Lawyers Incorporating Service
                                           2710 Gateway Oaks Drive, Suite 150N
                                           Sacramento, CA 95833-3505




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher A. Dodd and Brooke M. Jordy
                                           Dodd Law Office, LLC
                                           500 Marquette Ave. NW, Ste. 1330, Albuquerque, NM 87102
                                           chris@doddnm.com
                                           brooke@doddnm.com
                                           505-475-2742

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: Thursday, October 19, 2023                                                            Jacob Garcia
                                                                                         Signature of Clerk or Deputy Clerk
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